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  MICHAEL FAILLACE & ASSOCIATES, P.C.
  60 East 42nd Street, Suite 4510
  New York, New York 10165
  Telephone: (212) 317-1200
  Facsimile: (212) 317-1620
  Attorneys for Plaintiff

  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  -------------------------------------------------------X
  JUAN CARLOS MARTINEZ ROSENDO,
  individually and on behalf of others similarly
  situated,
                                                                        COMPLAINT
                                     Plaintiff,

                   -against-                                 COLLECTIVE ACTION UNDER
                                                                  29 U.S.C. § 216(b)
  JOHN DOE CORP. (D/B/A JIREH TIRE) and
  GERSHOM LORDSON,                                                        ECF Case

                                      Defendants.
  -------------------------------------------------------X

         Plaintiff Juan Carlos Martinez Rosendo (“Plaintiff Martinez” or “Mr. Martinez”),

 individually and on behalf of others similarly situated, by and through his attorneys, Michael

 Faillace & Associates, P.C., upon his knowledge and belief, and as against John Doe Corp. (d/b/a

 Jireh Tire), (“Defendant Corporation”) and Gershom Lordson, (“Individual Defendant”),

 (collectively, “Defendants”), alleges as follows:

                                           NATURE OF ACTION

       1.       Plaintiff Martinez is a former employee of Defendants John Doe Corp. (d/b/a Jireh

Tire) and Gershom Lordson.

       2.       Defendants own, operate, or control a tire dealer and repair shop, located at 2 E 116th

St, New York, NY 10029 under the name “Jireh Tire.”
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       3.      Upon information and belief, individual Defendant Gershom Lordson, serves or

served as owner, manager, principal, or agent of Defendant Corporation and, through this corporate

entity, operates or operated the Tire Dealer and Repair Shop as a joint or unified enterprise.

       4.      Plaintiff Martinez was employed as a tire worker and cashier at the Tire Dealer and

Repair Shop located at 2 E 116th St, New York, NY 10029.

       5.      At all times relevant to this Complaint, Plaintiff Martinez worked for Defendants in

excess of 40 hours per week, without appropriate minimum wage, overtime, and spread of hours

compensation for the hours that he worked.

       6.      Rather, Defendants failed to maintain accurate recordkeeping of the hours worked

and failed to pay Plaintiff Martinez appropriately for any hours worked, either at the straight rate of

pay or for any additional overtime premium.

       7.      Further, Defendants failed to pay Plaintiff Martinez the required “spread of hours”

pay for any day in which he had to work over 10 hours a day.

       8.      Defendants’ conduct extended beyond Plaintiff Martinez to all other similarly

situated employees.

       9.      At all times relevant to this Complaint, Defendants maintained a policy and practice

of requiring Plaintiff Martinez and other employees to work in excess of forty (40) hours per week

without providing the minimum wage and overtime compensation required by federal and state law

and regulations.

       10.     Plaintiff Martinez now brings this action on behalf of himself, and other similarly

situated individuals, for unpaid minimum and overtime wages pursuant to the Fair Labor Standards

Act of 1938, 29 U.S.C. § 201 et seq. (“FLSA”), and for violations of the N.Y. Labor Law §§ 190 et

seq. and 650 et seq. (the “NYLL”), and the “spread of hours” and overtime wage orders of the New



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York Commissioner of Labor codified at N.Y. COMP. CODES R. & REGS. tit. 12, § 146-1.6 (herein

the “Spread of Hours Wage Order”), including applicable liquidated damages, interest, attorneys’

fees and costs.

       11.        Plaintiff Martinez seeks certification of this action as a collective action on behalf of

himself, individually, and all other similarly situated employees and former employees of

Defendants pursuant to 29 U.S.C. § 216(b).

                                     JURISDICTION AND VENUE

       12.        This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal question)

and the FLSA, and supplemental jurisdiction over Plaintiff Martinez’s state law claims under 28

U.S.C. § 1367(a).

       13.        Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) because all, or a

substantial portion of, the events or omissions giving rise to the claims occurred in this district,

Defendants maintain their corporate headquarters and offices within this district, and Defendants

operate the tire dealer and repair shop located in this district. Further, Plaintiff Martinez was

employed by Defendants in this district.

                                                    PARTIES

                                                      Plaintiff

       14.        Plaintiff Juan Carlos Martinez Rosendo (“Plaintiff Martinez” or “Mr. Martinez”) is

an adult individual residing in Bronx County, New York.

       15.        Plaintiff Martinez was employed by Defendants at Jireh Tire from approximately

April 2016 until on or about January 28, 2020.




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       16.      Plaintiff Martinez consents to being a party plaintiff pursuant to 29 U.S.C. § 216(b),

and brings these claims based upon the allegations herein as a representative party of a prospective

class of similarly situated individuals under 29 U.S.C. § 216(b).

                                              Defendants

       17.      At all relevant times, Defendants own, operate, or control a tire dealer and repair

shop, located at 2 E 116th St, New York, NY 10029 under the name “Jireh Tire.”

       18.      Upon information and belief, John Doe Corp. (d/b/a Jireh Tire) is a domestic

corporation organized and existing under the laws of the State of New York. Upon information and

belief, it maintains its principal place of business at 2 E 116th St, New York, NY 10029.

       19.      Defendant Gershom Lordson is an individual engaging (or who was engaged) in

business in this judicial district during the relevant time period. Defendant Gershom Lordson is sued

individually in his capacity as owner, officer and/or agent of Defendant Corporation. Defendant

Gershom Lordson possesses operational control over Defendant Corporation, an ownership interest

in Defendant Corporation, and controls significant functions of Defendant Corporation. He

determines the wages and compensation of the employees of Defendants, including Plaintiff

Martinez, establishes the schedules of the employees, maintains employee records, and has the

authority to hire and fire employees.

                                    FACTUAL ALLEGATIONS

                                Defendants Constitute Joint Employers

       20.      Defendants operate a tire dealer and repair shop located in the East Harlem section

of Manhattan.




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       21.     Individual Defendant, Gershom Lordson, possesses operational control over

Defendant Corporation, possesses ownership interests in Defendant Corporation, and controls

significant functions of Defendant Corporation.

       22.     Defendants are associated and joint employers, act in the interest of each other with

respect to employees, pay employees by the same method, and share control over the employees.

       23.     Each Defendant possessed substantial control over Plaintiff Martinez’s (and other

similarly situated employees’) working conditions, and over the policies and practices with respect

to the employment and compensation of Plaintiff Martinez, and all similarly situated individuals,

referred to herein.

       24.     Defendants jointly employed Plaintiff Martinez (and all similarly situated employees)

and are Plaintiff Martinez’s (and all similarly situated employees’) employers within the meaning of

29 U.S.C. 201 et seq. and the NYLL.

       25.     In the alternative, Defendants constitute a single employer of Plaintiff Martinez

and/or similarly situated individuals.

       26.     Upon information and belief, Individual Defendant Gershom Lordson operates

Defendant Corporation as either an alter ego of himself and/or fails to operate Defendant Corporation

as an entity legally separate and apart from himself, by among other things:

              a) failing to adhere to the corporate formalities necessary to operate Defendant

                 Corporation as a Corporation,

              b) defectively forming or maintaining the corporate entity of Defendant Corporation,

                 by, amongst other things, failing to hold annual meetings or maintaining

                 appropriate corporate records,

              c) transferring assets and debts freely as between all Defendants,



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               d) operating Defendant Corporation for his own benefit as the sole or majority

                  shareholder,

               e) operating Defendant Corporation for his own benefit and maintaining control over

                  this corporation as a closed Corporation,

               f) intermingling assets and debts of his own with Defendant Corporation,

               g) diminishing and/or transferring assets of Defendant Corporation to avoid full

                  liability as necessary to protect his own interests, and

               h) Other actions evincing a failure to adhere to the corporate form.

        27.     At all relevant times, Defendants were Plaintiff Martinez’s employers within the

meaning of the FLSA and New York Labor Law. Defendants had the power to hire and fire Plaintiff

Martinez, controlled the terms and conditions of employment, and determined the rate and method

of any compensation in exchange for Plaintiff Martinez ’s services.

        28.     In each year from 2016 to 2020, Defendants, both separately and jointly, have had a

gross annual volume of sales of not less than $500,000 (exclusive of excise taxes at the retail level

that are separately stated).

        29.     In addition, upon information and belief, Defendants and/or their enterprise were

directly engaged in interstate commerce. As an example, numerous items that were used in the tire

dealer and repair shop on a daily basis are goods produced outside of the State of New York.

                                           Individual Plaintiff

        30.     Plaintiff Martinez is a former employee of Defendants who was employed as a tire

worker and cashier. Plaintiff Martinez seeks to represent a class of similarly situated individuals

under 29 U.S.C. 216(b).

                                 Plaintiff Juan Carlos Martinez Rosendo



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       31.     Plaintiff Martinez was employed by Defendants from approximately April 2016 until

on or about January 28, 2020.

       32.     Defendants employed Plaintiff Martinez as a tire worker and cashier.

       33.     Plaintiff Martinez regularly handled goods in interstate commerce, such as

automotive repair equipment and other supplies produced outside the State of New York.

       34.     Plaintiff Martinez’s work duties required neither discretion nor independent

judgment.

       35.     Throughout his employment with Defendants, Plaintiff Martinez regularly worked in

excess of 40 hours per week.

       36.     From approximately April 2016 until on or about December 14, 2019, Plaintiff

Martinez worked from approximately 10:00 p.m. until on or about 10:00 a.m. to 10:20 a.m., 5 days

a week (typically 60 to 61.67 hours per week).

       37.     From approximately January 11, 2020 until on or about January 28, 2020, Plaintiff

Martinez worked from approximately 10:00 a.m. until on or about 10:00 p.m. or 10:20 p.m., 5 days

per week (typically 60 to 61.67 hours per week).

       38.     Throughout his employment, Defendants paid Plaintiff Martinez his wages in cash.

       39.     From approximately April 2016 until on or about January 2017, Defendants paid

Plaintiff Martinez a fixed salary of $580 per week.

       40.     From approximately January 2017 until on or about January 28, 2020, Defendants

paid Plaintiff Martinez a fixed salary of $600 per week.

       41.     Plaintiff Martinez’s pay did not vary even when he was required to stay later or work

a longer day than his usual schedule.




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       42.     For example, Defendants required Plaintiff Martinez to work an additional 20

minutes past his scheduled departure time regularly, and did not pay him for the additional time he

worked.

       43.     Defendants never granted Plaintiff Martinez any breaks or meal periods of any kind.

       44.     Plaintiff Martinez was not required to keep track of his time, nor to his knowledge,

did the Defendants utilize any time tracking device such as punch cards, that accurately reflected his

actual hours worked.

       45.     Defendants took improper and illegal deductions from Plaintiff Martinez’s wages;

specifically, Defendants deducted approximately $300 from Plaintiff Martinez's wages for repairs

that customers did not pay for.

       46.     No notification, either in the form of posted notices or other means, was ever given

to Plaintiff Martinez regarding overtime and wages under the FLSA and NYLL.

       47.     Defendants did not provide Plaintiff Martinez an accurate statement of wages, as

required by NYLL 195(3).

      48.      Defendants did not give any notice to Plaintiff Martinez of his rate of pay, employer’s

regular pay day, and such other information as required by NYLL §195(1).

                                  Defendants’ General Employment Practices

      49.      At all times relevant to this Complaint, Defendants maintained a policy and practice

of requiring Plaintiff Martinez (and all similarly situated employees) to work in excess of 40 hours

a week without paying him appropriate minimum wage, spread of hours pay, and overtime

compensation as required by federal and state laws.




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      50.      Plaintiff Martinez was a victim of Defendants’ common policy and practices which

violate his rights under the FLSA and New York Labor Law by, inter alia, not paying him the wages

he was owed for the hours he worked.

      51.      Defendants’ pay practices resulted in Plaintiff Martinez not receiving payment for all

his hours worked, and resulted in Plaintiff Martinez’s effective rate of pay falling below the required

minimum wage rate.

      52.      Defendants habitually required Plaintiff Martinez to work additional time beyond his

regular shifts but did not provide him with any additional compensation.

      53.      Defendants    willfully   disregarded    and   purposefully    evaded    recordkeeping

requirements of the FLSA and NYLL by failing to maintain accurate and complete timesheets and

payroll records.

      54.      Defendants paid Plaintiff Martinez his wages in cash.

      55.      Defendants failed to post at the workplace, or otherwise provide to employees, the

required postings or notices to employees regarding the applicable wage and hour requirements of

the FLSA and NYLL.

      56.      Upon information and belief, these practices by Defendants were done willfully to

disguise the actual number of hours Plaintiff Martinez (and similarly situated individuals) worked,

and to avoid paying Plaintiff Martinez properly for his full hours worked.

      57.      Defendants engaged in their unlawful conduct pursuant to a corporate policy of

minimizing labor costs and denying employees compensation by knowingly violating the FLSA and

NYLL.

      58.      Defendants’ unlawful conduct was intentional, willful, in bad faith, and caused

significant damages to Plaintiff Martinez and other similarly situated former workers.



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      59.      Defendants failed to provide Plaintiff Martinez and other employees with accurate

wage statements at the time of their payment of wages, containing: the dates of work covered by that

payment of wages; name of employee; name of employer; address and phone number of employer;

rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece,

commission, or other; gross wages; deductions; allowances, if any, claimed as part of the minimum

wage; net wages; the regular hourly rate or rates of pay; the overtime rate or rates of pay; the number

of regular hours worked; and the number of overtime hours worked, as required by NYLL §195(3).

      60.      Defendants failed to provide Plaintiff Martinez and other employees, at the time of

hiring and on or before February 1 of each subsequent year, a statement in English and the

employees’ primary language, containing: the rate or rates of pay and basis thereof, whether paid by

the hour, shift, day, week, salary, piece, commission, or other; allowances, if any, claimed as part of

the minimum wage, including tip, meal, or lodging allowances; the regular pay day designated by

the employer; the name of the employer; any “doing business as” names used by the employer; the

physical address of the employer's main office or principal place of business, and a mailing address

if different; and the telephone number of the employer, as required by New York Labor Law §195(1).

                             FLSA COLLECTIVE ACTION CLAIMS

      61.       Plaintiff Martinez brings his FLSA minimum wage, overtime compensation, and

liquidated damages claims as a collective action pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b),

on behalf of all similarly situated persons (the “FLSA Class members”), i.e., persons who are or

were employed by Defendants or any of them, on or after the date that is three years before the filing

of the complaint in this case (the “FLSA Class Period”).

      62.      At all relevant times, Plaintiff Martinez and other members of the FLSA Class were

similarly situated in that they had substantially similar job requirements and pay provisions, and



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have been subject to Defendants’ common practices, policies, programs, procedures, protocols and

plans including willfully failing and refusing to pay them the required minimum wage, overtime pay

at a one and one-half their regular rates for work in excess of forty (40) hours per workweek under

the FLSA, and willfully failing to keep records under the FLSA.

      63.          The claims of Plaintiff Martinez stated herein are similar to those of the other

employees.

                                       FIRST CAUSE OF ACTION

                VIOLATION OF THE MINIMUM WAGE PROVISIONS OF THE FLSA

      64.          Plaintiff Martinez repeats and realleges all paragraphs above as though fully set forth

herein.

      65.          At all times relevant to this action, Defendants were Plaintiff Martinez ’s employers

within the meaning of the Fair Labor Standards Act, 29 U.S.C. § 203(d). Defendants had the power

to hire and fire Plaintiff Martinez (and the FLSA Class Members), controlled the terms and

conditions of their employment, and determined the rate and method of any compensation in

exchange for their employment.

      66.          At all times relevant to this action, Defendants were engaged in commerce or in an

industry or activity affecting commerce.

      67.          Defendants constitute an enterprise within the meaning of the Fair Labor Standards

Act, 29 U.S.C. § 203 (r-s).

          68.      Defendants failed to pay Plaintiff Martinez (and the FLSA Class members) at the

applicable minimum hourly rate, in violation of 29 U.S.C. § 206(a).

      69.          Defendants’ failure to pay Plaintiff Martinez (and the FLSA Class members) at the

applicable minimum hourly rate was willful within the meaning of 29 U.S.C. § 255(a).



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      70.      Plaintiff Martinez (and the FLSA Class members) were damaged in an amount to be

determined at trial.

                                  SECOND CAUSE OF ACTION

               VIOLATION OF THE OVERTIME PROVISIONS OF THE FLSA

      71.      Plaintiff Martinez repeats and realleges all paragraphs above as though fully set forth

herein.

      72.      Defendants, in violation of 29 U.S.C. § 207(a)(1), failed to pay Plaintiff Martinez

(and the FLSA Class members) overtime compensation at a rate of one and one-half times the regular

rate of pay for each hour worked in excess of forty hours in a work week.

      73.      Defendants’ failure to pay Plaintiff Martinez (and the FLSA Class members),

overtime compensation was willful within the meaning of 29 U.S.C. § 255(a).

      74.      Plaintiff Martinez (and the FLSA Class members) were damaged in an amount to be

determined at trial.

                                   THIRD CAUSE OF ACTION

                  VIOLATION OF THE NEW YORK MINIMUM WAGE ACT

      75.       Plaintiff Martinez repeats and realleges all paragraphs above as though fully set forth

herein.

      76.      At all times relevant to this action, Defendants were Plaintiff Martinez ’s employers

within the meaning of the N.Y. Lab. Law §§ 2 and 651. Defendants had the power to hire and fire

Plaintiff Martinez, controlled the terms and conditions of his employment, and determined the rates

and methods of any compensation in exchange for his employment.

      77.      Defendants, in violation of NYLL § 652(1) and the supporting regulations of the New

York State Department of Labor, paid Plaintiff Martinez less than the minimum wage.



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      78.         Defendants’ failure to pay Plaintiff Martinez the minimum wage was willful within

the meaning of N.Y. Lab. Law § 663.

      79.         Plaintiff Martinez was damaged in an amount to be determined at trial.

                                    FOURTH CAUSE OF ACTION

                         VIOLATION OF THE OVERTIME PROVISIONS

                            OF THE NEW YORK STATE LABOR LAW

      80.         Plaintiff Martinez repeats and realleges all paragraphs above as though fully set forth

herein.

      81.         Defendants, in violation of N.Y. Lab. Law § 190 et seq., and supporting regulations

of the New York State Department of Labor, failed to pay Plaintiff Martinez overtime compensation

at rates of one and one-half times the regular rate of pay for each hour worked in excess of forty

hours in a work week.

      82.         Defendants’ failure to pay Plaintiff Martinez overtime compensation was willful

within the meaning of N.Y. Lab. Law § 663.

            83.   Plaintiff Martinez was damaged in an amount to be determined at trial.

                                     FIFTH CAUSE OF ACTION

                    VIOLATION OF THE SPREAD OF HOURS WAGE ORDER

                        OF THE NEW YORK COMMISSIONER OF LABOR

            84.   Plaintiff Martinez repeats and realleges all paragraphs above as though fully set forth

 herein.


            85.   Defendants failed to pay Plaintiff Martinez one additional hour’s pay at the basic

 minimum wage rate before allowances for each day Plaintiff Martinez’s spread of hours exceeded

 ten hours in violation of NYLL §§ 650 et seq. and 12 N.Y.C.R.R. §§ 146-1.6.


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      86.      Defendants’ failure to pay Plaintiff Martinez an additional hour’s pay for each day

Plaintiff Martinez’s spread of hours exceeded ten hours was willful within the meaning of NYLL

§ 663.

      87.      Plaintiff Martinez was damaged in an amount to be determined at trial.



                                   SIXTH CAUSE OF ACTION

                   VIOLATION OF THE NOTICE AND RECORDKEEPING

                    REQUIREMENTS OF THE NEW YORK LABOR LAW

      88.       Plaintiff Martinez repeats and realleges all paragraphs above as though fully set forth

herein.

      89.      Defendants failed to provide Plaintiff Martinez with a written notice, in English ,

containing: the rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week,

salary, piece, commission, or other; allowances, if any, claimed as part of the minimum wage,

including tip, meal, or lodging allowances; the regular pay day designated by the employer; the name

of the employer; any “doing business as" names used by the employer; the physical address of the

employer's main office or principal place of business, and a mailing address if different; and the

telephone number of the employer, as required by NYLL §195(1).

      90.      Defendants are liable to Plaintiff Martinez in the amount of $5,000, together with

costs and attorneys’ fees.

                                 SEVENTH CAUSE OF ACTION

                  VIOLATION OF THE WAGE STATEMENT PROVISIONS

                               OF THE NEW YORK LABOR LAW




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      91.          Plaintiff Martinez repeats and realleges all paragraphs above as though fully set forth

herein.

      92.          With each payment of wages, Defendants failed to provide Plaintiff Martinez with an

accurate statement listing each of the following: the dates of work covered by that payment of wages;

name of employee; name of employer; address and phone number of employer; rate or rates of pay

and basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other;

gross wages; deductions; allowances, if any, claimed as part of the minimum wage; net wages; the

regular hourly rate or rates of pay; the overtime rate or rates of pay; the number of regular hours

worked; and the number of overtime hours worked, as required by NYLL 195(3).

      93.          Defendants are liable to Plaintiff Martinez in the amount of $5,000, together with

costs and attorneys’ fees.

                                        EIGHTH CAUSE OF ACTION

                    UNLAWFUL DEDUCTIONS FROM WAGES IN VIOLATION

                                  OF THE NEW YORK LABOR LAW

          94.      Plaintiff Martinez repeats and realleges all paragraphs above as though set forth fully

herein.

          95.      At all relevant times, Defendants were Plaintiff Martinez’s employers within the

meaning of the N.Y. Lab. Law §§ 2 and 651.

          96.      Defendants made unlawful deductions from Plaintiff Martinez ’s wages; specifically,

Defendants deducted $300 from Plaintiff Martinez's wages for repair jobs that customers failed to

pay for.

          97.      The deductions made from Plaintiff Martinez’s wages were not authorized or

required by law.



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       98.       Through their knowing and intentional efforts to take unauthorized deductions from

Plaintiff Martinez’s wages, Defendants willfully violated NYLL, Article 6, §§ 190 et seq., and

supporting New York State regulations.

     99.         Plaintiff Martinez was damaged in an amount to be determined at trial.

                                       PRAYER FOR RELIEF

           WHEREFORE, Plaintiff Martinez respectfully requests that this Court enter judgment

 against Defendants by:

           (a)    Designating this action as a collective action and authorizing prompt issuance of

 notice pursuant to 29 U.S.C. § 216(b) to all putative class members apprising them of the pendency

 of this action, and permitting them to promptly file consents to be Plaintiffs in the FLSA claims in

 this action;

           (b)    Declaring that Defendants violated the minimum wage provisions of, and

 associated rules and regulations under, the FLSA as to Plaintiff Martinez and the FLSA Class

 members;

           (c)    Declaring that Defendants violated the overtime wage provisions of, and associated

 rules and regulations under, the FLSA as to Plaintiff Martinez and the FLSA Class members;

           (d)    Declaring that Defendants violated the recordkeeping requirements of, and

 associated rules and regulations under, the FLSA with respect to Plaintiff Martinez’s and the FLSA

 Class members’ compensation, hours, wages, and any deductions or credits taken against wages;

           (e)    Declaring that Defendants’ violations of the provisions of the FLSA were willful

 as to Plaintiff Martinez and the FLSA Class members;




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       (f)     Awarding Plaintiff Martinez and the FLSA Class members damages for the amount

of unpaid minimum wage, overtime compensation, and damages for any improper deductions or

credits taken against wages under the FLSA as applicable;

       (g)     Awarding Plaintiff Martinez and the FLSA Class members liquidated damages in

an amount equal to 100% of his damages for the amount of unpaid minimum wage and overtime

compensation, and damages for any improper deductions or credits taken against wages under the

FLSA as applicable pursuant to 29 U.S.C. § 216(b);

       (h)     Declaring that Defendants violated the minimum wage provisions of, and rules and

orders promulgated under, the NYLL as to Plaintiff Martinez;

       (i)     Declaring that Defendants violated the overtime wage provisions of, and rules and

orders promulgated under, the NYLL as to Plaintiff Martinez;

       (j)     Declaring that Defendants violated the spread-of-hours requirements of the NYLL

and supporting regulations as to Plaintiff Martinez;

       (k)     Declaring that Defendants violated the notice and recordkeeping requirements of

the NYLL with respect to Plaintiff Martinez’s compensation, hours, wages and any deductions or

credits taken against wages;

       (l)     Declaring that Defendants’ violations of the provisions of the NYLL and spread of

hours wage order were willful as to Plaintiff Martinez;

       (m)     Awarding Plaintiff Martinez damages for the amount of unpaid minimum wage and

overtime compensation, and for any improper deductions or credits taken against wages, as well

as awarding spread of hours pay under the NYLL as applicable

       (n)     Awarding Plaintiff Martinez damages for Defendants’ violation of the NYLL

notice and recordkeeping provisions, pursuant to NYLL §§198(1-b), 198(1-d);



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       (o)     Awarding Plaintiff Martinez liquidated damages in an amount equal to one hundred

percent (100%) of the total amount of minimum wage, overtime compensation, and spread of hours

pay shown to be owed pursuant to NYLL § 663 as applicable; and liquidated damages pursuant to

NYLL § 198(3);

       (p)     Awarding Plaintiff Martinez and the FLSA Class members pre-judgment and post-

judgment interest as applicable;

       (q)      Awarding Plaintiff Martinez and the FLSA Class members the expenses incurred

in this action, including costs and attorneys’ fees;

       (r)     Providing that if any amounts remain unpaid upon the expiration of ninety days

following issuance of judgment, or ninety days after expiration of the time to appeal and no appeal

is then pending, whichever is later, the total amount of judgment shall automatically increase by

fifteen percent, as required by NYLL § 198(4); and

       (s)     All such other and further relief as the Court deems just and proper.

                                       JURY DEMAND

         Plaintiff Martinez demands a trial by jury on all issues triable by a jury.

Dated: New York, New York

       February 23, 2020

                                                         MICHAEL FAILLACE & ASSOCIATES, P.C.

                                               By:              /s/ Michael Faillace
                                                         Michael Faillace [MF-8436]
                                                         60 East 42nd Street, Suite 4510
                                                         New York, New York 10165
                                                         Telephone: (212) 317-1200
                                                         Facsimile: (212) 317-1620
                                                         Attorneys for Plaintiff




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